CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 1 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 2 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 3 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 4 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 5 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 6 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 7 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 8 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 9 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 10 of 11
CASE 0:22-cr-00038-PJS-JFD Doc. 47 Filed 05/16/22 Page 11 of 11
